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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                        Civil Action No. 3:20-cv-
__________________________________________
D.R.,                                      )
                                           )
         Plaintiff                         )
v.                                         )
                                           )
GREGG BIGDA, LUKE COURNOYER,               )
RUPERT DANIEL,                             )
POLICE COMMISSIONER JOHN                   )
R. BARBIERI, and CITY OF SPRINGFIELD,      )
                                           )
                                           )
         Defendants                        )

                   COMPLAINT AND REQUEST FOR JURY TRIAL

                                    INTRODUCTON

1.    This civil rights action is brought for excessive force by police officers from the

      Springfield Police Department against minor D.R, then just a fifteen years old boy. On

      February 26, 2016, then Springfield Police Officer Stephen Vigneault left his undercover

      police SUV idling outside a pizza shop in Springfield, MA, when he went in to get a

      pizza. The police SUV was stolen, subsequently stopped and secured in the Town of

      Palmer, MA, where three minors, including plaintiff D.R., were apprehended.

2.    D.R. was forced to the cold, hard ground and handcuffed by Springfield Police officers.

      As D.R. lay face down and handcuffed, Defendant Gregg Bigda, then a Springfield police

      officer, screamed at D.R. “welcome to white town.” Gregg Bigda then proceeded to

      kick the defenseless D.R. multiple times in his face including near his temple area. Luke

      Cournoyer searched D.R.’s pockets and seized his cellphone. F.E., another minor, was

      taken to the ground by officers and bitten in the leg by a let loose police dog where




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     officers hit him with a clenched fist, kicked him in the face and spit on him. F.E. was

     transported to the hospital. D.R. was taken to the Palmer police station with another

     minor where the boys were separated in disparate holding cells. Once separated and

     without a parent present or without the ability to contact a parent, Gregg Bigda

     interrogated D.R., screamed obscenities to him at a close range, shouted at him and made

     threats to him while he was locked in the cell while Luke Cournoyer stood silently by.

     Gregg Bigda reinforced the many ways he could brutalize him, bragged about his ability

     to plant drugs on him, told him that he would be taking him back to Springfield and that

     he would write whatever he wanted in his police report. Luke Cournoyer stood alongside

     him.

3.   Defendant Rupert Daniel, a Springfield police captain, authorized Defendant Gregg

     Bigda and other Springfield Police Department (SPD) officers to leave the city of

     Springfield to pursue the stolen SUV even though there was no lawful basis for them to

     do so and despite the clear risk that the officers would violate the rights of anyone they

     caught.

4.   Defendant Commissioner Barbieri, a Springfield police commissioner, was the supervisor

     and policy maker of SPD’S standards of conduct and authorized defendant officers to

     continue in their role as police officers despite SPD’s policy or custom of tolerating

     unreasonable force and other misconduct by its police officers. These policies permitted

     its police officers to believe they could violate civilian’s civil rights with impunity. The

     SPD’s policies or customs permitted Officer Bigda and Luke Cournoyer to continue

     working as a police officer despite his own brushes with the law, a long and well-known




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     history of imbibing alcohol while on the job, using unreasonable force against civilians,

     falsifying police reports and providing false testimony under oath.



5.   Defendant City of Springfield is sued for its policy or custom of tolerating unreasonable

     force and other misconduct by its police officers. These policies permitted its police

     officers to believe they could violate civilian’s civil rights with impunity. The City’s

     policies or customs permitted then Officers Bigda and Cournoyer to continue working as

     a police officer despite his own brushes with the law long and a well-known history of

     using alcohol and unreasonable force against civilians while falsifying police reports and

     providing false testimony under oath.

6.   To recover for the harms sustained at the hands of state actors in this matter, D.R. brings

     this action in federal civil rights under 42 U.S.C. § 1983 and for violation of his rights

     under the statutes and common law of Massachusetts. Besides his claims against the

     individuals directly involved in the harms against him, D.R. brings civil rights claims

     against the city of Springfield and its policymakers. The evidence shows they caused his

     harms directly by means of policy, usage, and practice in police matters amounting to

     assurance that officers could violate the rights of citizens at will, either with total

     impunity or at risk only of a symbolic and inconsequential euphemism for discipline.



                                JURISDICTION AND VENUE



7.   This action is brought under 42 U.S.C. § 1983 and § 1988 for violation of plaintiff’s

     rights guaranteed by the Fourth and Fourteenth Amendments to the United States




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         Constitution. This Honorable Court has original jurisdiction of the federal claims

         pursuant to 28 U.S.C. §§ 1331 and 1343. The Court has supplemental jurisdiction of the

         state law claims pursuant to 28 U.S.C. § 1367 because the state and federal claims arise

         from the same case or controversy and have a common factual basis.

8.       Venue is proper because the acts and omissions which gave rise to the suit occurred in

         this district, all parties reside and/or have their usual place of business in the district, and

         all are subject to the personal jurisdiction of the Court. 28 U.S.C. § 1391(b); 42 U.S.C. §

         2000e-5(f)(3).

                                               PARTIES



9.       Plaintiff, D.R., is and was at all pertinent times, a citizen of the United States and was a

         resident of the Commonwealth of Massachusetts, in the County of Hampden, in the city

         of Springfield. He is currently residing in the city of Ware in the Commonwealth of

         Massachusetts. He was a minor child at all relevant times hereto.

10.      The defendant City of Springfield (“the City”) is a duly incorporated municipality of the

         Commonwealth of Massachusetts with a usual place of business located at 36 Court

         Street, City of Springfield, County of Hampden, Massachusetts and is operating under the

         Laws of the Commonwealth of Massachusetts.

11.      Defendant Gregg Bigda was at all material times hereto a sworn and duly appointed

      police officer and detective of the Springfield Police Department (“SPD”) with a usual place

      of business at 130 Pearl Street, Springfield, County of Hampden, Massachusetts. He resided

      in Hampden County, Massachusetts. His actions alleged hereto were taken under color of

      law.




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12.      Defendant Luke Cournoyer was at all material times hereto a sworn and duly appointed

      police officer and detective of the Springfield Police Department (“SPD”) with a usual place

      of business at 130 Pearl Street, Springfield, County of Hampden, Massachusetts. He resided

      in Hampden County, Massachusetts. His actions alleged hereto were taken under color of

      law.

13.      Defendant Rupert Daniel was at all times relevant to this complaint a sworn and duly

      appointed captain of the SPD with a usual place of business at 130 Pearl Street, Springfield,

      Hampden County, Massachusetts. His actions alleged hereto were taken under color of law.

14.          Defendant John Barbieri (“Commissioner Barbieri”) is and was at all pertinent times the

      police commissioner for the City of Springfield, and was acting as agent, servant and

      employee with a usual place of business at 130 Pearl Street, Springfield, County of

      Hampden, Massachusetts. His actions alleged hereto were taken under color of law.



                                                 FACTS



15.      Each of the previous paragraphs is incorporated as if fully set forth herein.

16.      At all pertinent times each defendant acted as alleged in this Complaint under color of the

         laws, statutes, ordinances, and/or regulations of the Commonwealth of Massachusetts

         and/or of the ordinances, regulations and/or rules of the City of Springfield.

17.      At all pertinent times the conduct of each individual defendant was done in his or her

         capacity as an employee, servant, or agent of the City of Springfield.



         A. February 26, 2016




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18.   On February 26, 2016, Gregg Bigda and Luke Cournoyer together with other SPD

      officers Reif, Vigneault, Rodriguez and Robles were working the 4pm to midnight tour of

      duty. All were part of the SPD Narcotics Bureau.

19.   At approximately 10:20p.m., then SPD Officer Vigneault, the partner of defendant

      Officer Bigda, drove an SPD undercover police SUV to Primo’s Pizzeria in Springfield

      to pick up a pizza for himself and the other members of the narcotics unit. Officer

      Vigneault knew that SPD Officer Bigda had been drinking rum and it was believed the

      pizza would assist in sobering him up.

20.   Officer Vigneault left the SUV, an unmarked 2002 Chevy Trailblazer, idling and

      unattended in front of the pizza shop when he went inside for the pizza. Once inside, he

      saw the SUV drive away.

21.   Officer Vigneault called defendant Officer Bigda, who drove to Primo’s to pick him up.

22.   Officer Vigneault informed SPD dispatch what happened and a BOLO (“Be on the

      Lookout”) for the SUV went out to all area police departments and patrols over the

      Western Massachusetts Law Enforcement Channel (“WMLEC”).

23.   Defendant Officers Bigda and Cournoyer together with other SPD officers remained at

      the SPD police station on Pearl Street past the end of their shifts at midnight. Officer

      Bigda and the others were drinking alcohol and growing increasingly intoxicated.

      Officer Bigda had been drinking rum throughout the night.

24.   The next morning at approximately 2:40 a.m., Officer Christopher Rogers of the

      Wilbraham Police Department (“WPD”) saw the SUV Chevy Trailblazer drive past him

      and through a stop sign.




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25.   Officer Rogers activated his emergency lights and followed the SUV, but it did not stop.

26.   Officer Rogers, soon joined by WPD officers in myriad police vehicles, followed the

      SUV through Wilbraham and into the adjacent town of Palmer.

27.   WPD dispatch notified the SPD and the Palmer Police Department (“PPD”) of what now

      had become a chase. The PPD set out deflation devices (“stop sticks”) in the SUV’s

      oncoming path.

28.   The stop sticks punctured two of the SUV’s tires. The SUV was thus stopped in Palmer,

      where the PPD officers found the vehicle unoccupied with the engine running and two

      doors ajar.

29.   Defendant Rupert Daniel, a captain in the SPD narcotics unit, was the 4-12 duty shif

      supervisor. Captain Daniel knew that there was no legitimate reason for SPD narcotics

      officers to pursue the stolen SUV outside of Springfield. On information and belief, he

      also knew or should have known that during his duty shift some of the officers, including

      Officers Bigda and Cournoyers, had been drinking alcohol at the police station.

30.   Captain Daniel knew that Officers Bigda and Cournoyer were overly aggressive officers

      with a history of committing violence against civilians.

31.   Captain Daniel authorized the SPD officers to leave Springfield to obtain the missing

      SUV. Captain Daniel told Officer Bigda and Vigneault, “You own it but you are on your

      own time.”

32.   Captain Daniel should not have permitted SPD officers to go to Wilbraham or Palmer to

      retrieve the SUV or to take custody of prisoners. It was foreseeable that officers whose

      shift had ended- and who had a personal stake in ending the embarrassment of having left

      their undercover police vehicle idling unattended so it could be taken- would commit




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      misconduct in this situation. It was foreseeable that intoxicated police officers would

      commit misconduct in this situation.

33.   The fact that defendant Officer Bigda was personally affected by the theft increased the

      likelihood that he would commit misconduct. Given Officer Bigda’s well-known history

      of using unreasonable force, allowing him to be personally involved in pursuing the SUV

      created an obvious risk that he would inflict serious harm on the suspects particularly

      where he was intoxicated.

34.   Defendant John Barbieri was the commissioner for the SPD.       On information and belief,

      he also knew or should have known that during his duty shift some of the officers,

      including Officer Bigda, had been drinking alcohol at the police station.

35.   Commissioner Barbieri knew that Officer Bigda was an overly aggressive officer with a

      history of committing violence against civilians.

36.   Officers Bigda and five other SPD narcotics officers soon arrived in Palmer to join in the

      pursuit.

37.   Roger Tucker, then the Chief of the Wilbraham Police Department, stated that the SPD

      officers had no business being on the scene of the arrest.

38.   Matthew Baird of the Massachusetts State Police (“MSP”) K-9 Unit heard about the

      pursuit over the WMLEC channel and arrived at the newly abandoned SUV with his K-9,

      Caber, who began to track the vehicle’s newly departed occupants.

39.   Caber then pulled Trooper Baird towards the side stairs of a porch at 1598 North Main

      Street, a multi-unit residence.

40.   Plaintiff D.R. was on the porch with minor friends T.J and F.E.

41.   Trooper Baird deployed his K-9 Caber and gave the command to apprehend the boys.




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42.   Frightened and startled by the full-sized German Shepherd police dog running towards

      them, D.R. and F.E. jumped off the porch and ran into North Main Street, Palmer.

43.   K-9 Caber quickly caught F.E., seized him and bit him on his upper left thigh and

      buttocks while taking him to the ground. Caber continued to bite him while also biting

      F.E.’s arm.

44.   WPD Officer Rogers ordered plaintiff, D.R., to lie face down on the ground, place his

      hands behind his back and the officer proceeded to secure (handcuff) him there.

45.   The SPD narcotics officers then arrived at the scene on foot.

46.   Defendant Officer Bigda came up to the prone and handcuffed plaintiff, D.R., and while

      screaming “welcome to white town,” proceeded to kick the boy multiple times in the face

      and head with his boot, including the temple area, causing D.R to become dizzy.

47.   Defendant Officer Cournoyer then searched D.R.’s pockets and seized his cellphone.

48.   Defendant Officer Bigda then approached another minor, F.E., who was also prone and

      handcuffed and lying face down. Defendant Officer Bigda also kicked him in the face.

      Officers also punched F.E. in the face with a closed fist.

49.   Plaintiff D.R. was already restrained and lying prone on the roads cold concrete. He did

      not resist or pose a threat to anyone’s safety. Defendant Officer Bigda had no legitimate

      reason to use physical force against D.R.

50.   As a result of being kicked in the face, head and temple area by Defendant Bigda’s boot,

      D.R. had bleeding and there were remnants of the boys blood on Officer Bigda’s boot.

      F.E’s blood was also on Defendant Bigda’s hand.




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51.   As the violence continued, F.E. screamed to plaintiff, D.R., his belief that the police

      “were going to kill me!” Defendant Bigda then also spit on F.E. while saying, again,

      “Welcome to white town, mother—ers.”

52.   Nearly an hour later an ambulance arrived to take F.E. to the hospital for treatment for his

      dog bite wounds.

53.   Police officers took plaintiff, D.R., and another minor, T.J., to the Palmer police station

      for a ‘courtesy booking’ for SPD.

54.   SPD officers, including defendants Bigda and Cournoyer, did not inform plaintiff’s

      parents of the arrest or their intent to interrogate him although he was a minor.

55.   SPD officers, including defendant Officers Bigda and Cournoyer, did not offer plaintiff

      the opportunity to contact his parents although he was a minor.

56.   Plaintiff, D.R. and another minor, T.J., were placed in different holding cells at the

      Palmer police station. Defendant Bigda engaged in an interrogation of D.R. for

      approximately an hour.

57.   Defendant Cournoyer stood silently by while defendant Bigda engaged in the harsh

      interrogation of plaintiff.

58.   Defendant Cournoyer failed to intervene while defendant Bigda kicked plaintiff, D.R., in

      the head and temple, and, while he threatened the minor plaintiff in the holding cell

      without the benefit of Miranda rights or his parents present.

59.   Plaintiff, D.R., was still dizzy while he was interrogated in the holding cell at the police

      station. At no time did defendants Bigda or Cournoyer offer medical treatment to

      plaintiff, D.R.

60.   Plaintiff’s parents were not present.




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61.   Minor plaintiff D.R. was not given his Miranda rights by either defendant Bigda or

      Cournoyer.

62.   The PPD’s surveillance system recorded the interrogation in its entirety in video and

      audio.

63.   While defendant Bigda threatened, shouted at and berated plaintiff, D.R., a strong and

      overpowering odor of alcohol came from his breath.

64.   At no time during the interrogation of plaintiff D.R, did defendant Officer Cournoyer

      attempt to intervene and help the minor child.

65.   Defendant Bigda stated clearly during this interrogation that he did not in the least care

      about being truthful in his police reporting but would do whatever was necessary to

      inflict retribution for the theft of his unit’s vehicle and failure of the juvenile to ‘confess’

      to this and other crimes defendant Officer Bigda claimed plaintiff D.R. had committed.

66.   At no time did defendant Officer Cournoyer attempt to interject with defendant Officer

      Bigda as to his proclamations about not caring about being truthful in his police reporting

      or his expressed desire to do whatever was necessary to inflict retribution for the theft of

      his unit’s vehicle or the failure of D.R. to ‘confess’ to this and other crimes defendant

      Bigda claimed plaintiff D.R. committed.

67.   Some of the many statements made to plaintiff D.R. by defendant Bigda where defendant

      Cournoyer stood silently by while failing to intervene included but were not limited to the

      following:

          a.   “Who’s the kid at the hospital the dog---oh, look at that! Know what that is?

               That’s his mother—ing blood” [points to the toe of right boot]”;

          b. “you probably don’t even know who your father is”;




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         c. “wait until you get back to my house;”

         d. “we’re going for a hospital trip for you”;

         e. “I’m going to crush your f—ing skull and get away with it”;

         f. “I will bring the dog back and let him go at you;”

         g. “I’ll beat the f-- out of you when (we) get back to Springfield;”

         h. “Anything you say doesn’t come true, I find out you’re lying…see that [points to

             right, then left shoe]…that’ll be yours on this shoe [meaing blood];”

         i. “you know what I have in Springfield? We don’t have a nice new department like

             this. You know in my department –see that camera up there? It don’t f—ing

             exist so anything that happens to you at my place never happened. If I don’t write

             it in a report, it never f—ing happened”;

         j. “Motherf---er, I’ll charge you with killing Kennedy and make it stick;”

         k. “I’m not hampered by the f—ing truth ‘cause I don’t give a f--! People like you

             belong in jail. I’ll charge you with whatever---I’ll stick a f—ing kilo of coke in

             your pocket and put you away for f---ing 15 years;” and

         l. “I’m gonna kick you right in the f—ing face as soon as we cross the Springfield

             line.”

68.   A graphic thirty-two minute portion of the interrogation by defendant Bigda where he

      repeatedly berated, threatened and intimidated D.R. while SPD Officer Cournoyer stood

      Silently by in assent can be found at:

      https://www.youtube.com/watch?v=r1i3a0-qhME




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69.   Still intoxicated, Defendant Bigda and Cournoyer sand other SPD drove plaintiff and the

      other boys to SPD’s Youth Aid Bureau for further processing.



      B. Policies, customs and practices: A history of failing to track, control or discipline
         for use of excessive force

         a. Failure to supervise or discipline Defendant Officer Bigda

70.   Officer Bigda graduated from the police academy and became a Springfield police officer

      in 1994.

71.   From January 2000 until March, 2016, Officer Bigda was the subject of at least 24

      internal investigations of misconduct at the Springfield Police Department.

72.   Thirteen of the 24 internal investigations involved complaints that Officer Bigda, alone or

      in concert with other Springfield officers, used excessive force.

73.   The allegations of excessive force against Officer Bigda included the following:

         a. Holding a civilians leg against the hot tailpipe of a police cruiser;

         b. Hitting a civilian in the head with a flashlight during an arrest;

         c. Mistaking an innocent man for a suspect, dragging him from his car, handcuffing

             him and beating him in the head and neck;

         d. Cursing and striking several women, one of whom was pregnant, in the presence

             of their children;

         e. Grabbing a Chicopee police officer from his unmarked police vehicle, spinning

             him around, and shoving him against the car door, solely because that officer was

             a dark-skinned Hispanic male,




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         f. Choking, kicking and assaulting the complainant’s mentally disable son, breaking

             his jaw, and pointing a gun at the complainant’s chest and stating, “I can’t stand

             Puerto Ricans;”

         g. After the incident set forth in this complaint and on March 12, 2016, defendant

             Bigda twice staged late-night armed invasions of the home of his former

             girlfriend, SPD K-9 Officer Gail Gethins. During this home invasion he assaulted

             her and her boyfriend, Ed Vigneault – who was Bigda’s narcotic’s unit partner.

         h. Gethins told a district court judge in the Palmer district court in an application for

             restraining order that Officer Detective Bigda threatened to destroy her and her

             boyfriend, detective Vigneault. Gethins wrote in an affidavit Detective Bigda

             threatened her saying “I am going to kill you ” and that she was in fear of her life:

             “This occurred at approximately 12:30AM. Knowing his history of drinking and

             owning firearms I am in fear and scare of what he will continue to do.”

         i. Shortly after Detective Bigda began texting nasty messages and leaving voice

             messages to Vigneault and Gethins that said endearing things like: “Hey, Whore!

             Nice to meet ya… “I’ll take care of all you people…”. Detective Bigda also

             threatened Vigneault telling him “I will get you transferred out of the narcotics

             unit and ruin your career.”

74.   On March 12, 2016, defendant Officer Bigda’s partner, detective Vigneault, complained

      to his narcotics supervisor, Lieutenant Alberto Ayala about Detective Bigda’s assault,

      home invasion and making threats.

75.   But instead of ordering an immediate investigation Lt. Ayala dismissed Vigneault’s

      allegations.




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76.   On March 13th Lt. Ayala told detective Vigneault he would either transfer voluntarily out

      of the narcotics unit or would be kicked out.

77.   Other complaints against Officer Bigda included allegations of verbal abuse, harassment

      and destruction of civilian’s property. One complainant alleged that Officer Bigda and

      other officers maced her puppies, killing them.

78.   In acting as he did, defendant Gregg Bigda could expect that the City of Springfield and

      Police Commissioner John R. Barbieri would not mount a substantive investigation or

      impose discipline under the established policy and practice of the City and its policy

      makers of tolerating drinking on the job, violence against civilians, falsifying police

      reports and use of excessive force by officers.

79.   Because the SPD’s Internal Investigation Unit (“IIU”) has long been biased in favor of

      police officers, none of these at least 24 internal investigations resulted in a sustained

      finding of wrongdoing against defendant officer Bigda.

80.   At the time of the incident set forth in this complaint, Officer Bigda had not received any

      discipline, retraining, warning or reprimand for any of his actions as SPD officer.

81.   Officer Bigda was not disciplined for his conduct in this case until after the Palmer police

      station video, above, was made public.

82.   The Springfield Police Department also did not discipline defendant Officer Bigda for

      lying in court. In at least four criminal cases a Superior Court judge found that Officer

      Bigda provided false testimony/false affidavits in support of search warrants, but the SPD

      took no action.

83.   In 2017, defendant Bigda applied for promotion to sergeant and defendant Barbieri

      signed off on his candidacy.




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            a. SPD’s policy of allowing civil rights violations by its police officers


84.   The SPD has similarly promoted other officers with criminal or disciplinary histories.

85.   By promoting and so rewarding officers alleged or found to have committed crimes, acts

      of violence, civil rights violations, false testimony in affidavits and testimonies before the

      court, the SPD sends a message to officers that the department does not take such

      misconduct seriously. Officers in turn feel emboldened to violate civilians’ constitutional

      rights because the officer know that they will not suffer adverse consequences for doing

      so.

86.   Defendant Luke Cournoyer remains employed by the SPD, despite failing to intervene

      while the plaintiff, D.R., was abused by defendant Officer Bigda and his civil rights were

      so violated.

87.   At all pertinent times defendant Commissioner Barbieri, exercised authority over the

      SPD and its officers and was a maker of policy as to the SPD’s standards of conduct and

      discipline.

88.   At all pertinent times defendant Commissioner Barbieri had the authority to discipline

      officers for misconduct, including the power to effectively recommend dismissal, and the

      power, authority, and duty to hold officers accountable for use of excessive or unjustified

      force, for failure to intervene in the use of excessive or unjustified force and for

      misstatements of fact in official reports.

89.   At all pertinent times the Defendants City of Springfield (“City”) and Commissioner

      Barbieri, knew of their legal duty to train, supervise, monitor and discipline members of

      the SPD to observe the rights of persons, including their right to be free from wrongful



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      conviction and misrepresentation at the hands of police.



90.   At all pertinent times the City and Commissioner Barbieri failed to monitor, train,

      supervise, control and/or discipline SPD officers in reporting, investigation,

      misrepresentation in reporting and at grand jury with such recklessness, gross negligence

      and/or actual intent as to manifest deliberate indifference to the rights of persons,

      including the plaintiff, to be free from malicious prosecution, wrongful conviction and

      misrepresentation at the hands of police.

91.   The use of fabrication, false reporting, misrepresentation with impunity in the SPD was at

      all pertinent times part and parcel of the general de facto policy, custom, practice and

      usage that gave officers extreme and unwarranted discretion in the use of force without

      requiring them to account for the same.

92.   As a matter of policy Commissioner Barbieri and the City accorded this prerogative to

      police officers.

93.   The City of Springfield allowed an unwritten policy and custom to develop in the SPD of

      permitting officers- including but not limited to defendant Officer Bigda- to use excessive

      and unreasonable force, to violate civil rights and to commit misconduct with impunity.

94.   The City of Springfield allowed an unwritten policy and custom to develop in the SPD of

      allowing officers- including but not limited to defendant Officer Cournoyer- to

      purposefully allow and fail to intervene in another officer’s violation of the use of

      excessive and unreasonable force, the violation of civil rights and the commission of

      misconduct with impunity.

95.   As a matter of policy Commissioner Barbieri and the City of Springfield did not




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       substantively monitor, assess, or regulate the use of force and the failure of other officer’s

       to intervene in the use of force by SPD officers but sought to maintain the appearance of

       doing so.

96.    As a matter of policy defendants, Commissioner Barbieri and the City of Springfield,

       rarely sustained civilian’s complaints of police misconduct, including complaints

       concerning excessive force. This policy or custom led SPD officers, including but not

       limited to defendant Officers Bigda and Cournoyer, to believe they could violate

       individuals’ civil rights with impunity because they knew they would not be disciplined

       for misconduct.

97.    As a matter of policy Commissioner Barbieri and the City did not initiate inquiry into the

       arrest and incarceration of the innocent – no matter how evident his innocence was while

       there was a pattern and practice to not pursue exculpatory material, to manipulate falsities

       in police reporting and to mislead the grand jury regarding the guilt of an individual..

98.    The policies of not investigating circumstances suggesting manufactured reporting

       through falsities or omissions, the manipulating of evidence and false testimony before

       the grand jury is evident from the acts and omissions of the City and Commissioner

       Barbieri regarding numerous allegations of excessive force in complaints to the SPD and

       in suits by the alleged victims.

99.    The SPD did not have a properly functioning internal affairs unit. The IIU did not

       properly investigate allegations of misconduct, including allegations of excessive force,

       against SPD police officers. The IIU was biased toward police officers, favoring their

       testimony over that of civilians and ignoring credible evidence of officers’ misconduct.

100.   When determining officers’ discipline, defendant Commissioner Barbieri considered, in




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       part, the likelihood of the discipline being sustained based on other cases where

       suspensions or terminations have been overturned by arbitrators or civil service.

       Commissioner Barbieri chose not to fire Officer Bigda because the City of Springfield’s

       legal and human resources departments advised him that a firing would not survive an

       expensive civil service appeal.

101.   Years before the incident, the City of Springfield voluntarily entered into a contract with

       the police union that prohibited the SPD from bringing disciplinary charges against an

       officer more than 90 days after the incident or after the date the SPD learned of the

       potential violation, whichever is later. Commissioner Barbieri admitted that this

       provision hindered the Department’s ability to discipline officers. This unreasonably

       short time period for bringing internal complaints allowed officers to commit misconduct

       with impunity.

102.   In addition, there have been numerous civil rights lawsuits and complaints against the

       City of Springfield and police officers that allege physical abuse, serious injuries and or

       instances of malicious prosecution, false statements and failure to provide exculpatory

       evidence that have not resulted in any discipline.

103.   Before and after the incident from which this case arises, the defendants City of

       Springfield and Commissioner Barbieri were aware of complaints and claims alleging use

       of excessive force and other civil rights violations on the part of the SPD officers, but on

       information and belief such allegations did not result in substantive investigation into

       such incidents or discipline of officers.

104.   Upon information and belief, Vigneault also complained in early 2016 that Detective

       Bigda was allowed to work and drink in the narcotics unit while intoxicated and observed




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       Detective Bigda and others actively consume alcohol at the police station while working

       before going out into the field to work and after returning to the police station. Vigneault

       v. City of Springfield, et al, Hampden Superior Court at ¶ 22.

105.   Defendant Commissioner Barbieri was aware of the Officer Gethins home invasion

       because on March 15th Deputy Chief Anthony who worked closely with Commissioner

       Barbieri told Vigneault he would be kicked out of the narcotics unit if he did not transfer.

106.   On October 28, 2016, defendant Commissioner Barbieri claimed that he was unaware of

       the assault of the Springfield juveniles in Palmer until he was contacted by the Hampden

       District Attorney’s office during June 2016.

107.   In a different affidavit signed on February 2, 2017, defendant Commissioner Barbieri

       affirmed he was aware of the Palmer incident immediately after it happened and claimed

       when he learned of the incident there no charges of misconduct other than a verbal

       reprimand.

108.   Instead of firing defendant Officer Bigda for engaging in criminal and gross misconduct,

       suspended Detective Bigda for 60 days after trivializing Bigda’s prior disciplinary history

       and describing the Gethins assault and home invasion euphemistically as a “trespass.”

109.   Barbieri wrote: “Detective Bigda’s acceptance of responsibility for improper behavior,

       his previous lengthy employment without recent serious disciplinary (sic) a recent

       incident involving a trespass during a domestic argument which occurred shortly after

       this incident (which resulted in discipline and counseling); the likelihood of sustaining

       discipline based on other cases where suspensions have been overturned or civil

       service…”

110.   But in a February 2017, affidavit related to the Vigneault lawsuit, Barbieri characterized




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       Detective Bigda’s home invasion and assault of Gethins and Vigneault quite differently

       “a recent incident involving a B&E/misdemeanor during a domestic argument which

       occurred shortly after this incident (which resulted in discipline and counseling)…”

111.   Barbieri justified the lax disciplinary deal he approved in favor of detective Bigda by

       stating: “Additionally Detective Bigda was departmentally transferred from his position”

       intimating his duties were restricted to desk duties when in fact Bigda continued to patrol

       the streets in Springfield for a period of time.

112.   Barbieri and the City pressured detective Vigneault into resigning from the SPD or be

       fired because Vigneault did not have the internal connections Bigda had.

113.   Vigneault filed a whistle blower and a civil rights lawsuit in Hampden Superior Court

       against Barbieri, Detective Bigda and others alleging he had been removed from the

       narcotics unit and improperly fired after he complained about Detective Bigda for

       engaging in criminal conduct, i.e. assaulting him and Gethins after a home invasion,

       drinking and intoxication in the narcotics unit while on duty and violating the civil rights

       of juveniles in Palmer.

114.   But Barbieri knowingly made a number of misleading claims in connection with the

       affidavit he prepared in the Vigneault lawsuit. Barbieri claimed a) he was unaware

       Vigneault was a whistleblower, b) Detective Bigda enjoyed no “special influence” in the

       narcotics unit or in the SPD, c) he was unaware narcotic officers were drinking on the

       job.

115.   Barbieri claimed an additional IIU investigation was ordered for corroboration of

       drinking on the job in the narcotics unit. According to Barbieri “The results of that

       investigation did not turn up any corroboration from any source either inside or outside




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       the department. This investigation included all of the individuals working in the narcotics

       unit and all of the non-Springfield law enforcement officer involved in the February 2016

       incident.”

116.   But all of the detectives from the narcotics unit that were questioned for “corroboration”

       have stated in federal depositions, they are close, like, admire, respect and have no

       criticism of Detective Bigda.

117.   Barbieri’s assertions were not only misleading but they reinforce the widespread

       existence of a code of silence and a culture of impunity from the rank and file all the way

       up to his office.



118.   SPD officers in the narcotics unit had a large number of complaints that were determined

       to be unfounded by the SPD:

       •       Detective Bigda had twenty-six (26) civilian complaints

       •       Lt. Kent had twenty-three (23) civilian complaint

       •       Detective Templeman had thirty (30) civilian complaints

       •       Detective Kalish had twenty (20) civilian complaints

       •       Detective Patruno had nine (9) civilian complaints

       •       Detective Kakley had thirteen (13) civilian complaints

       •       Detective Bates had twelve (12) civilian complaints

119.   Defendant Officer Bigda and other members of the SPD narcotics unit were sued in

       federal court by an arrestee who claimed he was punched after being handcuffed, pistol

       whipped, and his girlfriend slapped in the face by one of the officers. Douglas v. City of

       Springfield, Bigda et al., 3:14-cv-30210.



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120.   Discovery in Douglas v. Springfield the City, et al, that Detective Bigda and his

       codefendants had been subject of approximately 133 complaints none of which were ever

       sustained.

121.   In 2016 the City of Springfield filed with the United States Federal Court a motion for

       summary judgment in Douglas v. City of Springfield, et al, 3:14-cv-30210 claiming that

       the City of Springfield should not be held liable because Mr. Douglas had failed to

       demonstrate a well settled and widespread pattern of police misconduct to show the City

       had constructive knowledge of it.

122.   City lawyers argued there was no evidence that Springfield had been deliberately

       indifferent to the rights of it citizens.

123.   But on October 14, 2016 the Honorable Katherine A. Robertson, U.S. Magistrate Judge

       in a Report and Recommendation Regarding Defendant’s [City of Springfield] Motion

       for Summary Judgment, denied Springfield’s motion stating: “A reasonable finder of fact

       could also infer that there were flaws in the city’s investigation of civilian complaints that

       demonstrated deliberate indifference to the risks posed by officers against whom large

       number of civilian complaints about excessive use of force had been made.”

124.   Judge Robertson also opined “The IIU (“Internal Investigating Unit”) submitted as

       evidence by Plaintiff show what appears to be a consistent pattern of rejecting civilian

       complaints against police officers.” (citations omitted). Judge Robertson also concluded

       “Taking these factors into account, a reasonable finder of fact could conclude that

       Springfield’s investigative process was less than effective at identifying officers prone to

       the use of excessive force.”

125.   Finally, she concluded “Because Plaintiff claims to have been the victim of excessive use




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       of force during the execution of an arrest warrant, he has “produce[d] evidence that

       serious prior incidents similar to the alleged constitutional violation in question put the

       municipality on inquiry notice of [the officers’] danger to the public and that the police

       department’s policy of ignoring or covering up those incidents was ‘the moving force’

       behind the alleged violation.”

126.   On or about December 2016, the City of Springfield agreed to pay $1.4 Million to a an

       individual in Charles Wilhite v. City of Springfield USDC-MA Case No. 3:14-cv-

       30023KPN, after he filed a federal civil rights lawsuit alleging that on December 2010 he

       was convicted of first degree murder based solely on false eyewitness testimony. The

       witnesses according to the complaint, recanted and revealed detectives Pioggia and Tatro

       of the SPD threatened and coerced them to implicate Mr. Wilhite who spent 40 months in

       prison.

127.   After the filing of nolle prossequis on all of the indictments against Schand on October

       16, 2013, the City of Springfield and a group of former detectives were sued with

       allegations that Mark Schand was wrongfully incarcerated for 27 years “as a direct result

       of doctored and suppressed police reports, coerced and unreliable witness statements,

       improper identification procedures, and a general pattern of blatant disregard for the law

       on the part of the Defendants, … Shand… spent 27 years in prison for murder, assault

       and robbery he did not commit. Arrested at the age of 21, Plaintiff was wrongfully

       convicted and sentenced to life in prison without the possibility of parole. Schand et al,

       v. City of Springfield, et al, USDC-MA Case No. 3:15-cv-30148MAP, Document 1,

       8/20/2015.

128.   The complaint also alleges “The City of Springfield and the SPD also withheld and




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       doctored key exculpatory evidence.”

129.   In Ververis et al v. Kent et al., U.S. District Court, District of Massachusetts, Docket No.

       3:13:-cv-30175, a civil rights case filed October 22, 2013, the plaintiff alleged that, in

       response to a request for Sgt. Kent’s badge number, that Kent and three other SPD

       officers dragged him from his vehicle, beat him, and choked him until he was

       unconscious. He also alleged one of the officers kicked and dragged his body on the

       snow-covered ground.

130.   The Ververis suit also alleged that Sgt. Kent countenanced the unlawful seizure of a cell

       phone a bystander had used to record the incident, and that when police returned the cell

       phone to its owner months later the recording had been erased.

131.   In a ruling of January 15, 2015, denying the City’s motion for summary judgment dismiss

       Ververis’ claim alleging unconstitutional conduct by the City was a cause of the incident,

       the federal Court held: “There are sufficient disputed issues of fact to support Plaintiff’s

       claim that the violation of his civil rights stemmed from an established custom and policy

       of the City of Springfield.”

132.   Springfield agreed to pay Ververis $175,000 to compensate him for his injuries.

133.   In Owens v. Sullivan et al USDC Docket No. 3:12-cv-30119, filed on April 9, 2013, a

       federal court jury determined that an SPD officer’s use of excessive force on a 15 year

       old minor (lunging at him and grabbing his neck for failing to hang up his cell phone)

       which caused the boy’s death when he was struck and pinned under a car while trying to

       avoid the officer.

134.   The jury verdict of September 22, 2014 came with a damages award of $1,262,000. No

       one was disciplined as a result of Walker’s death.




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135.   In Thomas v. City of Springfield et al., USDC 3:97:cv-30166, filed May, 13, 2010, the

       plaintiff alleged that SPD officers – including Sgt. Kent, Detective Templeman,

       defendant Officer Bigda, and Detective Patruno – removed him from his vehicle, pulled

       his pants down in the middle of the street, kicked and punched him over his entire body,

       then strip searched and beat him again at the police station.

136.   In another criminal case, Commonwealth v. Reyes, a Hampden Superior Court Judge

       (Page, J), held a Franks hearing to determine if Officer Templeman, a narcotics officer,

       had provided false testimony in an affidavit to obtain a search warrant.

137.   Justice Page suppressed evidence out of the case after finding that detective Bigda and

       Templeman had given false testimony about the movements of a defendant. See

       Commonwealth v. William Reyes, Hampden Superior Court, HDCR2007-00281.

138.   Specifically, Templeman attempted to bootstrap probable cause by fabricating

       observations of the whereabouts of Mr. Reyes that were later discredited because Mr.

       Reyes’s Court electronic monitoring transmitter (ELMO) contradicted Templeman’s false

       testimony i.e. the ELMO records established that at the time Templeman made his

       observations of Reyes, Reyes had gone out of range of his box for an hour and twenty

       minutes before Detective Templemen claims to have made his observations.

139.   None of the officers criticized by Judge Page were disciplined or retrained.

140.   Baldwin v. Ryan et al., USDC Docket No. 3:07-cv-30167, filed September 10, 2007,

       alleged that an African American male was beaten “brutally upon the head face and body

       by three white police officers” while he was handcuffed.

141.   Lewis v. Springfield et al., USDC Docket No. 3:02-cv-30027, filed on May 14, 2003.

       October 22, 2013, accused Sgt. Kent and other SPD officers of violating the civil rights




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       of a driver who alleged he was dragged from his car, thrown against the vehicle, told “he

       was being taken to a special place to get his ass kicked,” and was then taken to the police

       station and strip searched.

142.   On information and belief, none of the foregoing allegations of SPD officers’ violation of

       civil rights resulted in any action to correct or review their conduct, either by way of

       genuine scrutiny under professional standards of investigation or by discipline.

143.   In Melvin Jones v. City of Springfield, et al., USDCT-Dist. Mass. Case No. 3:10-cv-

       30244-MAP, Doc. 51, 6/6/2011 Mr. Jones claimed Officer Asher and others were

       videotaped beating him after they slammed him into the hood a police cruiser. He alleged

       being kicked in the groin and back and was viciously struck in the head with a metal

       flashlight in 2009 while one of the officers called him a “Nigger.”

144.   Melvin Jones who was beaten by Officer Asher with a flashlight suffered broken facial

       bones and partially lost vision in one eye from an estimated 20 blows to the head.

145.   None of Officer Asher’s associates stopped Jones’ beating.

146.   Jones brought civil rights claims not only against Asher but against the City, claiming the

       beating happened because of an unconstitutional policy of failing to train, supervise, and

       discipline officers for violent misconduct was a cause of the beating.

147.   The City of Springfield settled Jones’ suit for $575,000 in 2012.

148.   During the discovery period in the Jones case, SPD Police Commissioner William J.

       Fitchett gave a deposition about the practices of the SPD including an eighteen year

       period in which he investigated officers for the alleged use of excessive force and how he

       was the final authority in those cases.

149.   A video tape of Jones arrest and beating was captured by a Springfield resident and was




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       given to Masslive.

150.   Without the existence of the videotape no one would have been disciplined by the City.

       This demonstrates the existence of a code of silence.

151.   Two of the participants in Jones’ beating, officers Michael Sedergren and Theodore

       Truiolo testified during the criminal trial on Asher’s behalf defending his actions.

152.   At trial Sedergren, testified he yelled for fellow officers to hit Jones because he was sure

       Jones was reaching to take his gun out of his holster.

153.   Asher was found guilty and spent a year in jail on a criminal assault conviction.

154.   Fitchett concluded after reviewing a video that Asher used deadly force that should not

       have been used.

155.   Fitchett concluded that when Officer Asher struck Mr. Jones with a flashlight the strikes

       were not only inconsistent with the baton policy because there were too many strikes

       directed at an area “[T]hat was a very dangerous area to strike someone at. I believe those

       number of strikes in the area that the strikes were made was inappropriate, and that

       Officer Asher used force that was not necessary in order to effect the arrest.” Id. at 108,

       lines 6-12.

156.   Fitchett testified that all of the officers involved in the arrest of Melvin Jones invoked

       their Fifth Amendment rights against self-incrimination, i.e., Asher, Sedergren, Lt.

       Bobianski, Officer Truiolo and they never gave statements to the IIU officers that Fitchett

       assigned to investigate the incident. Id. at 113, lines 1-22.

157.   Despite their refusal to answer questions during an IIU investigation, Lt. Bobianski,

       Sedergren and Truiolo continue to be employed by the SPD, i.e. Fitchett suspended

       Bobianski for 45 days without pay, Officer Truiolo for 15 days.




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158.   Barbieri’s and the City’s refusal to fire these employees demonstrates gross negligence

       and deliberate indifference to the rights of Springfield citizens.

159.   Fitchett admitted in his deposition that Officer Asher “…[H]ad a lot of disciplinary

       complaints” prior to the Melvin Jones incident. Transcript, p. 160: 8-23, p. 161:1. A

       prior civilian complaint was filed against Officer Asher. That other complaint alleged

       excessive force by Asher against an African American arrestee (Roy Parker) which

       resulted in a one year suspension reduced to six month through arbitration. Id. at 161,

       lines 6-23, pp. 162, lines 1-12.

160.   Fitchett admitted Asher kicked Roy Parker in the shoulder while two police officers were

       on top of him. Trans. at 167: 21-23, 168:1-8.

161.   Fitchett identified in his deposition the booking photo of Melvin Jones which depicted

       visible injuries. Trans. 169, 4:23, p. 170:1-17.

162.   Fitchett testified he was aware Jones sustained a fracture around his sinus and an orbital

       wall fracture and had surgery. Trans. 171:12-19

163.   Fitchett acknowledged during his deposition that Officer Asher had been charged with

       multiple disciplinary complaints that alleged excessive force (threats of force) and other

       disciplinary concerns. Some of them resulted in discipline and others did not. Id. 175,

       lines 2-23, pp. 176, lines 1-23, pp. 177, lines 1-23, pp. 179, lines 7-22., pp. 180, lines 12-

       16. See also, pp. 182, lines 7-16 and pp. 184, lines 8-23, pp. 188, lines 2-9, pp. 188, lines

       15-23, pp. 189, lines 1-17, pp. 196, line 5-19, pp. 198, lines 8-198.

164.   Fitchett acknowledged Asher was not disciplined or terminated for other incidents, one in

       which he allegedly hit the principal of a charter school on the head with an object while

       he was on the ground even though the City of Springfield paid the Plaintiff in that case




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       (Douglas Greer) the sum of $180,000. Id. at 198, line 8-23, pp. 199, lines 1-23, pp. 200,

       1-23, pp. 201, lines 1-23, pp. 204, lines 8-23, pp. 205, lines 1-23, pp. 206, lines 1-23.

165.   Fitchett testified the internal affairs hearing board uncovered evidence during the

       investigation indicated to him that the officers that came in contact with Melvin Jones

       (Asher, Sedergren, Truiolo, Bobianski) were guilty of either misconduct, neglect of duty

       in regards to the performance of duty.

166.   The City of Springfield’s conduct in failing to, supervise, and discipline its officers to

       assure they used force appropriately and lawfully was a moving force behind the SPD

       officer defendants’ unlawful assault upon the plaintiff in violation of his civil rights as

       complained of herein.




       Plaintiff’s Damages



167.   As a direct and proximate result of defendants’ conduct as set forth herein, plaintiff

       suffered loss of liberty, great mental anguish, humiliation, degradation, physical and

       emotional pain and suffering and other grievous and continuing injuries and damages.

168.   D.R. suffered from dizziness due to blows to his head and temple, anxious and angry

       mood, fear for his safety and fear of any encounter with other officers.

169.   Plaintiff spent eight months of the prime of his life in the house of correction.

170.   Plaintiff was deprived of opportunities to engage in education, meaningful labor, to

       develop a career and to pursue his interests and passions, or to associate with friends and

       family and instead endured the tedium, isolation, and forced association with accused

       and/or convicted criminals.



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171.   Because of defendants’ misconduct, D.R. has been deprived of all basic of human

       experience, which all free people enjoy as a matter of right, including the freedom to live

       one’s life as an autonomous human being.

172.   Defendants are jointly and severally liable for violating plaintiff’s rights under the

       Constitution of the Commonwealth of Massachusetts and under the United States

       Constitution and for all injuries he sustained as a result of the constitutional violations.

                                             COUNT I

                       42 U.S.C. § 1983: Failure to Discipline, Supervise

                                  City of Springfield, Barbieri



173.   Each of the foregoing paragraphs is incorporated as if fully set forth herein.

174.   Prior to February 26-27, 2016, and continuing, the Defendant, City of Springfield and its

       policy makers (Barbieri) have maintained customs, policies and practices that evince

       deliberate indifference to the rights of citizens that come in contact with members of the

       police department. The likelihood of infringement of citizens’ rights resulting from the

       said customs, policies and practices was so obvious these defendants were either aware of

       it, or if they were not their ignorance was due to deliberate indifference to the use of

       police power to abridge constitutional rights.

175.   The City of Springfield and its policymakers at all pertinent times failed to maintain a

       minimally appropriate supervisory and disciplinary systems for its officers in key areas of

       law enforcement including requiring officers to file truthful police reports, use of

       unreasonable force and failure to intervene against the use of unreasonable force.

176.   As a direct and proximate result thereof, the plaintiff suffered the losses and injuries




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       described herein.



                                            COUNT II

                      42 U.S.C. § 1983: against Defendant Officer Bigda

177.   Each of the foregoing paragraphs is incorporated as if fully set forth herein.

178. Defendant Officer Bigda, acting under color of law, used unreasonable force against minor

   Plaintiff D.R., thereby depriving him of his clearly established right to be free from the use of

   unreasonable force by a police officer under the Fourth Amendment to the United States

   Constitution, as applied under the Fourteenth Amendment.

179. Defendant Officer Bigda violated plaintiff D.R.’s constitutional rights.

180. Defendant Officer Bigda acted with reckless disregard for plaintiff D.R.’s constitutional

   rights.

181.   As a direct and proximate result thereof, the plaintiff suffered the losses and injuries

       described herein.

                                      COUNT III

                      42 U.S.C. § 1983: against Defendant Officer Cournoyer

182.   Each of the foregoing paragraphs is incorporated as if fully set forth herein.

183. Plaintiff, D.R., contends that Officer Bigda, acting under color of law, used unreasonable

   force against minor Plaintiff D.R., thereby depriving him of his clearly established right to be

   free from the use of unreasonable force by a police officer under the Fourth Amendment to

   the United States Constitution, as applied under the Fourteenth Amendment and that

   defendant Luke Cournoyer failed to intervene to stop the violation.

184. Defendant Officer Bigda violated plaintiff D.R.’s constitutional rights and defendant




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   Officer Luke Cournoyer failed to intervene to stop the violation.

185. Defendant Officer Bigda acted with reckless disregard for plaintiff D.R.’s constitutional

   rights and defendant Officer Luke Cournoyer failed to intervene to stop such reckless

   disregard for plaintiff’s constitutional rights.

186.   As a direct and proximate result thereof, the plaintiff suffered the losses and injuries

       described herein.



                                       COUNT IV

                               42 U.S.C. § 1983: against Defendant Daniel

187.   Each of the foregoing paragraphs is incorporated as if fully set forth herein.

188.   Defendant Daniel knew that allowing Defendant Officers Bigda and Cournoyer with

       other SPD officers to leave Springfield to retrieve the missing SUV, under the

       circumstances described above, posed a substantial risk of serious harm to anyone

       apprehended for the theft. As the officers’ supervisor, he had the ability and the duty to

       prevent the officers from becoming involved in the pursuit. Instead, he authorized that

       pursuit.

189.   Defendant Daniel was deliberately indifferent to the obvious risk that Defendant Officer

       Bigda would use unreasonable force against anyone suspected of stealing the police

       SUV.

190.   Defendant Daniel was deliberately indifferent to the obvious risk that Defendant Officer

       Bigda would use unreasonable force against anyone suspected of stealing the police SUV

       and that defendant Luke Cournoyer would fail to intervene in the use of unreasonable

       force meted out by defendant Officer Bigda.




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191.    As a direct and proximate result thereof, the plaintiff suffered the losses and injuries

        described herein.



                                     DEMANDS FOR RELIEF

       The Plaintiff respectfully requests the following relief:

1.      All compensatory damages recoverable;

2.      Injunctive relief;

3.      All punitive damages recoverable against Defendants Bigda and Daniel;

4.      All attorney’s fees, costs and expenses allowable;

5.      Any and all other relief as the Court deems just and proper.



 PLAINTIFF DEMANDS A JURY TRIAL AS TO ALL COUNTS IN THE COMPLAINT




                                        Respectfully submitted,
                                        Plaintiff, D.R.
                                        By his attorneys,


                                        /s/ Jeanne A. Liddy
                                        Jeanne A. Liddy BBO # 646478
                                        Law Offices of Jeanne A. Liddy
                                        1380 Main Street, Suite #404
                                        Springfield, MA 01103
                                        Tel. (413) 781-7096
                                        Liddylaw2005@yahoo.com

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                               _________________
                               /s/ Tracy E. Duncan
                               Tracy E. Duncan, Esq. BBO#553846
                               1380 Main Street, Suite #404
                               Springfield, MA 01103
                               Tel. 746-8441
                               TcDunc@aol.com

DATED: June 10, 2020




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